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                                                 Corrected

         In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 20-721V
                                         UNPUBLISHED


    KRISTIE WISENBAKER,                                        Chief Special Master Corcoran

                         Petitioner,
    v.                                                         Filed: September 21, 2021

    SECRETARY OF HEALTH AND                                    Special Processing Unit (SPU);
    HUMAN SERVICES,                                            Damages Decision on Proffer; Table
                                                               Injury; Influenza (Flu); Shoulder
                        Respondent.                            Injury Related to Vaccine
                                                               Administration (SIRVA).

John Robert Howie, Howie Law, PC, Dallas, TX, for Petitioner.

Christine Mary Becer, U.S. Department of Justice, Washington, DC, for Respondent.

                                       DECISION ON DAMAGES1

       On June 15, 2020, Kristie Wisenbaker filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of the influenza (“flu”) vaccine administered on
January 9, 2019. Petition at 1. The case was assigned to the Special Processing Unit of
the Office of Special Masters.

     On September 17, 2021, I issued a ruling finding Petitioner entitled to
compensation for her SIRVA. ECF No. 32. On September 20, 2021, Respondent filed a

1 Because this unpublished opinion contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the opinion will be available to anyone with access to the internet.
In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or
other information, the disclosure of which would constitute an unwarranted invasion of privacy. If, upon
review, I agree that the identified material fits within this definition, I will redact such material from public
access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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proffer on an award of compensation, to which Petitioner agrees. ECF No. 33 (attached
hereto as Exhibit A). Based on the record as a whole, I find that Petitioner is entitled to
an award as stated in the Proffer.

     Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $67,500.00 for pain and suffering. This amount represents
compensation for all damages that would be available under Section 15(a).

       The Clerk of the Court is directed to enter judgment in accordance with this
decision.3

        IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


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             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                        OFFICE OF SPECIAL MASTERS
____________________________________
                                     )
KRISTIE WISENBAKER,                  )
                                     )
            Petitioner,              )
                                     )  No. 20-721V
      v.                             )  Chief Special Master Corcoran
                                    )   ECF
SECRETARY OF HEALTH AND             )
HUMAN SERVICES,                     )
                                    )
            Respondent.             )
____________________________________)

             RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

I.     Procedural History

       On September 17, 2021, respondent filed a Vaccine Rule 4(c) report concluding that

petitioner sustained the onset of a left shoulder injury related to vaccine administration

(“SIRVA”) within the Table time period following an influenza vaccine, and therefore sustained

an injury that is compensable under the terms of the National Childhood Vaccine Injury Act of

1986, as amended, 42 U.S.C. §§300aa-10 to -34. ECF No. 30. Accordingly, on September 17,

2021, the Chief Special Master issued a Ruling on Entitlement, finding that petitioner was

entitled to vaccine compensation for SIRVA following the influenza vaccine she received on

January 9, 2019. ECF No. 32.

II.    Items of Compensation

       Respondent proffers that petitioner should be awarded $67,500.00 for pain and suffering.

       This represents all elements of compensation to which petitioner is entitled under 42

U.S.C. § 300aa-15(a). Petitioner agrees.
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III.   Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through a

lump sum payment as described below and requests that the Chief Special Master’s decision and

the Court’s judgment award the following 1: a lump sum payment of $67,500.00, in the form of a

check payable to petitioner.

IV.    Summary of Recommended Payments Following Judgment

       Lump sum payable to petitioner, Kristie Wisenbaker:                           $67,500.00

                                                      Respectfully submitted,

                                                      BRIAN M. BOYNTON
                                                      Acting Assistant Attorney General

                                                      C. SALVATORE D’ALESSIO
                                                      Acting Director
                                                      Torts Branch, Civil Division

                                                      HEATHER L. PEARLMAN
                                                      Deputy Director
                                                      Torts Branch, Civil Division

                                                      DARRYL R. WISHARD
                                                      Assistant Director
                                                      Torts Branch, Civil Division

                                                      s/Christine Mary Becer
                                                      CHRISTINE MARY BECER
                                                      Trial Attorney
                                                      Torts Branch, Civil Division
                                                      U.S. Department of Justice
                                                      P.O. Box 146
                                                      Benjamin Franklin Station
                                                      Washington, D.C. 20044-0146
                                                      Tel: (202) 616-3665
       DATED: September 20, 2021
1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future pain and
suffering.
                                                 2
